Case ell ECF No. 14-1 filed 11/10/16 PagelID.80 Page 1 of 10

 

October 3, 2016

The Honorable Matthew F Leltman
Theodore Levin Courthouse
231 W. Lafayette Bivd., Room 1013
Detroit, MI 458226

Dear judge Leman,

Thursday, fly 31, 2015 is a day that} will never forget. Je would be on this fateful
day that | would learn of the actions of ¢ “ynthia Flowers.

Lhave known Cynthia all of her life, She was rear ed ina Christian home, Cynthi
mother was her example and her me story S she instilled ‘s ner the importance
family, education and hard work but more importantly, are lation with God,

 
  

 

  

Perfecting Church began in 1989 with or
those eight people. Over the past 27 years our church has grown Trom eigh t to
several thousand, This growth came with much v i even greater sacrifice and
Cynthia was there frorn the very beginning, working and sacrificing. She has
worked wntiringly throughout the years in every facet of the ministry. Whether
menial or major, Cynthia takes on every assignment and works diligently and goes
over and above what is eked ats thia werks when of} are sleep; she
wears servitude as a badge ofhonor. A lot of the success of Perfecting Church can be
attributed to her be cause of her hard work, dedication and love for the ministry.

  
 
 

eight members and Cynthia was one oh

  
  

   

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| don’t have the words to explain what | feitin |.
hurt and very disappointed would be an underst i selings were as such
because | knew that the person [have known all her Tie and that had worked for me
for the past 27 years had always displayed high values of honesty, trust and
integrity

 

v

Yo say that | was greatly

       

 

   
  

  
 

As oe ot - ® corporation | ittook action and made swift and immediate changes
0 reme addy so that neither it nor anything like it could ever happen
‘er | met and counseled with Cynthia, Cynthia has shown

301 uh Sis situation. She acknowledges her wrongdoing, has
een responsi ity and admits S cha she qaeuies overwhelming circumstances in
her personal life to cause her t akes. In my opinion, Cynthia has
yet to forgive herself for what ee did iand ‘ie vain she coused,

  
  

 

      

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Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.81 Page 2 of 10

In my experience as a pastor, when a person has wronged someone they are
unwilling to acknowledge their wrongdoing and face their mistakes and they
disappear. This has not been the case with Cynthia; she still attends church on a
regular basis and is still a faithful, supportive and dedicated member. Though no

longer employed at Perfecting Church, she has volunteered over 1,400 hours from
August 2015 until now.

Cynthia will soon stand before you for sentencing on charges of structuring. It is my
sincere hope and prayer that you will show mercy in judgment when rendering your
decision regarding Cynthia’s future. I can be reached at 313-600-0274 if would like
to speak with me. I appreciate Your Honors time for reading this communiqué on
behalf of Cynthia Flowers.

a ectfully,

 

Marvin L. Winans
Senior Pastor, Perfecting Church

 
Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.82 Page 3 of 10

Pa

State of Michigan
26th Bistrict Canri
42) Madiann Avene
Suite 4008

 

DonaLp COLEMAN Beirait, Michiaan 4822h 3 ES AREA CODE: 313
JUDGE — TELEPHONE: 963-3712
August 31, 2016 FAX: 967-7509

RE: Ms. Cynthia Flowers
Letter of Reference/Recommendation

To whom it may concern:

It is rare that | am afforded the opportunity to offer: my | thoughts pa an ae :
and inspiring person like Ms. Cynthia Flowers. 1 have known Cindy for many ye
encountered her in the context of my volunteer efforts with school-aged children.

instrumental in crafting the logistical nuances of such efforts for mys if and many others who are
I

 

 

committed to improving the plight of underserved populations in various urban commiuniies.
quickly discovered that she is deeply devoted to a number of causes that are aimed al improving
the lives of ordinary people by wedding practical solutions to stubborn problems such as poverty.
illiteracy, conflict vesalution, youth violence and a host of other social ills.

Cindy's genuine care for young people and others who face a multiplicity of social-
economic and educational challenges is certainly breathtaking, but it is her pt roven ability to
organize people, agene vie s, churches and resources to engineer a strategic response | in the context

of critical needs that sets her apart. She has long been on the forefront of community development
and is a trusted “go to oma? for problem-solving. Moreover. I have found Cindy to be incredibly
unselfish and uniquely committed to the work of serving others with little regard for either personal

recognition or pecuniary gain.

Cindy has that rare combination of solid values. intellectual sophistication. unique skills,
focused passion and take charge leadership that m as s her an invaluable asset to any organization.
It is for these reasons that I give her my very highest recommendation for your consideration of
this outstanding young lady. Hf you have any other concerns or questions, please do not hesitate
fo contact me using the contact information lis SOVE.

   
   

 

DC/dt

 

 

 

 
October 1, 2016

Honorable Matthew fF. Lietmian
231 W. Lafayette Bivd. Room 1013
Detrolt, Ml 48226

RE: Letter on Behalf of Cynthia Flowers

Dear Honorable Lelttman:

My name is Jacqueline D. Ray and | am the assistant Pastor and Chief Operating Officer of Angie
Ray Ministries, Church on the Rock in Matteson, IL. | have served in ministry for 37 years in many
capacities including, but not limited to leading men’s fellowship groups ranging between 70 and 300
men (in which | am the only woman), | am also a chaplain, as wall as a family, relationship, and marriage
counselor. Frequently our telecast can be viewed on our ministry's syndicated broadcast that airs every
Monday night on the Word Network, reaching 8 million homes and 200 countries. We also air locally on
channel 62 every Wednesday through Friday, reaching the Chicagoland area as well as indiana.
Furthermore, | arn honored to mention that | am the Godmother to over 300 children across many cities
and states, humbly striving to be a servant to humanity, specializing in the restoration and deliverance
of marriages and families through the love of God.

My purpose in writing this letter today is on behalf of Cynthia Flowers and is to prayerfully shed
light on the “who” of Cindy and not just the “what”. in the several years that I’ve known Cindy, I’ve
found her to be a wornan of integrity, strength, virtue, and compassion; @ true woman of God. Far
years, even prior to meeting her in 2008, | have watched Cindy tirelessly execute her God-given gifts and
abilities in the area of administration to up-build and restore ministries that have fallan into a stagnated
place; I’ve always wondered where she found strength to do what she does. | have witnessed her
sacrifice her time in many capacities to Include volunteering In community outreach services, assisting
with the youth, the homeless, and organizing food drives and the like. | must not forget to mention her
spiritual influence as well, impacting souls through prayer. Cindy has donated her personal business
attire to women who are in transition; assisting them with their resumes in an effort to better
themselves. She also serves as a board member for Great Works Foundations vclunteering with senior
citizens, teaching them computer literacy skills, all the while being devoted to her family and friends.
Her mindset is “what can | do? How can | help?”

On one occasion | had a very large function in which thousands would attend; this being a new
endeavor for me, | called upon Cindy for her expertise; her knowledge in effectively dealing with God’s
people, all the while maintaining a business standpoint caused it to be a success. She was certainly the
face behind my drive; encouraging me that | can do all things through Christ that strengthens me. Her
relentless drive and love for God’s peaple coupled with the spirit of excellence continues to assist
Pastors and ministry leaders throughout the nation as they move forward with the call upan their lives.
ye witnessed her work from sun up to sun down; when others have retreated to their camfort zones,

Cynthia Flowers Pg. 4

 

Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.83 Page 4 of 10
Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.84 Page 5 of 10

she, with a spirit of humility, encourages them to return to their proper position. Cindy has dedicated
her entire existence to ensuring the wellbeing of others, almost to a fault. Once, she attended one of
our annual conferences in which should have been a time set aside for her to be refreshed. However,
once again, she placed herself to the side in order to make herself available in any capacity; its
imbedded in her. Because of her humble and quiet demeanor, many look over her as a person and just
see her as well functioning machine. Cindy has heen an example to countless young women; not only
because of her outward appearance, but because of her heart. You wouldn’t have time to read all ofthe
letters and testimonies from those that love and appreciate her for all that she has done and the
changes she has made in their lives. She is such a pillar in ministry, in her family as weil as the
community; many would suffer and would have a difficult time moving forward without her. As you
read this letter, | pray that you will feel the sincerity of my heart. Cindy has enhanced my life in such a
way that it is difficult to imagine continuing in the things of God without her support.

Again, as a minister having dealt with thousands of people, | recognize that many of us are
striving for perfection but yet fail short in one way or another. I’ve had to minister to and pray for Cindy
in this season as the brokenness and sorrow for decisions made have all but immobilized her. She has
expressed great devastation yet has repented; according to the word of God, she can be restored.
Proverbs 21:1 says “The king’s heart is in the hand of the Lord as the rivers of water; he turneth it
withersoever He will”. | pray that as your heart is in God's hand, it will be turned in her favor.

In His Service,

i We fo
aol Lb-—Roy-
Asst. Pastor J. Denise Ray

Cell: (708) 539-1662

Email: pastordray@yahoo.com

Cynthia Flowers Pg. 2

 

 

 

 

 
Case 2:16-cr-20439-MFL-DRG ECF No.

A-1 filed 11/10/16 PagelD.85 Page 6 of 10
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Abundant Life Ministries

Rev. Cordell A. Jenkins, Pastor
www.almtoledo.org

 

August 10, 2016

The Honorable Matihew F. Leitman
‘Theodore Levin U.S. Courthouse
931 W. Lafayette Blvd.

Detroit, MI 48226

Dear Judge Leitman;
I send this communication regarding Cynthia Flowers who has appeared before your court.

I have known Cynthia for many years. Cynthia is an individual that I’ve found to be deeply
committed and serious about her relationship with Chmist. She is very dedicated to her family and
her church. Realizing it may seem hard to believe with the given circumstances, Cynthia is a
person of good moral character.

Cynthia’s motivation is serving others; whether people in her community, her family or workplace,
she exudes a true servant’s heart. When reflecting on people who put others before themselves,
she would be thought of. I’ve personally witnessed Cynthia work and serve for hours on end,
behind the scenes in various settings all for the benefit of servitude. She gives to others in need
and serves without accolades and much deserved recognition.

Throughout the years | have known Cynthia, I’ve seen her go through ups and downs, several
challenges and an enervating divorce. She has made mistakes. Specifically speaking to the matter
at hand, Cynthia has admitied what she has done, has taken full responsibility and is credibly
remorseful.

It is my hope and prayer ihat you recognize the power you wield regarding Cynthia’s future. In my
opinion, she is someone who deserves judgment with mercy. I can be reached at 567-806-0770 if
you desire fo speak with me personally. Thank you for your time and willingness to read this on

her behall

Sincerely, .
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Pastor Cordell Jenkins

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5025 Glendale Ave. Toledo, OH 43614 Ph: 449-382-1300 abundantlitetoledo@att.net

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Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.86 Page 7 of 10

Greater Works Foundation

16801 Schoolcraft Ave. Detroit, Michigan 48227 313-307-8777

 

 

Dr. Louise Guyton, Founder Ms. Byna Elfott Chairman of the Board

July 31, 2016

To Whom it May Concern:

lam writing this letter as a character reference for Ms. Cindy Flowers. 1 have known Ms.
Flowers for more than 20 years, and she has proven to be an outstanding individual who is
committed to her profession. She has always demonstrated extremely high moral integrity and
a passion for the peaple she serves.

A born again Christian, Ms. Flowers works tirelessly as Manager at her place of worship, the
Perfecting Church.

Ms. Flowers is involved in many non profit organizations, one notably is her work with the
Greater Works Foundation Impacting Change. Ms. Flowers is a founding board member of this
foundation that is designed to address needs of individuals and families who are unserved and
underserved. She supports its mission and ideals by committing her time, financial and technical
resources to accomplish its goals. Each year she assists the foundation in providing programs
that help seniors become financially and computer literate. She also mentors high schooi
seniors in preparation for success in college. Cindy has played such an integral role in advancing
the mission of Greater Works Foundation, she will be recognized as a GWF Pioneer during the
Annual Meeting and Report to the Community later this year.

it is therefore, my honor and privilege to present this letter on behaif of an outstanding,
individual who epitomizes strength, grace and high moral character.

if further information is necessary, please feel free to contact me at the numbers identified

below.
Sincerely, wo wk , EXHIBIT
Oe Se er
& Coy a
ie: Lien cee ct, ZG pitts KE LR

 

 tbuise G. Guyton, ssunida CEO
“ Greater Works Foundation impacting Change
313-515-2135 e-mail: msigee34@gmail.com or loulse@thegreaterworksfoundation.org

 

 
Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.87 Page 8 of 10

CLARK HILL

 

Clark Hill PLC

500 Woodward Avenue

Suite 3500

Detroit, Ml 48226

YT 313.965.8300

F 343.995.8252
PAUL GREEN
Phone: (313) 968-8279 darkhil.cam
E-Mail: pgreen@iclarkhill. com

August 19, 2016

Re: Cynthia Flowers
To Whom It May Concern:

I write this letter in support of and as a reference for Cynthia Flowers, mentioned above in the
caption to this letter. [ have known Ms. Flowers for over 20 years. During that time, we have interacted
regularly and often. We have worked together on numerous projects and business matters, As a result, T
have come to know her quite well.

I know her to be an intelligent and competent manager. She has good insight and critical thinking
skills. [ have always known her to be honest, fair and forthright in her actions and dealings. She is a very
hard worker and committed to the improvement of social conditions as evidenced by her consistent
service to those types of programs through and as a volunteer for her church. In my opinion, Ms. Flowers
is an exceptional person.

Very truly yours,

BER arenes

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PG/gs

 

 

 
Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.88 Page 9 of 10

 

Dear Allison Folmar;

I have known Cynthia Flowers for over twenty years and I have found her to be a
person of tremendous capability. Cynthia has a deep and abiding commitment to our
community. She has been recognized for her work in the areas of education, the faith
based community and nonprofit organizations that make a difference in the lives of
woman and children. Her work in these areas has been demonstrated in her service to
seniors, youth, the sick, the poor and her pursuit to provide education to youth that
focuses on science, technology, engineering, mathematics, theatrical and musical
learning.

Cynthia has superior organizational skills. Through my experiences with her, she has
exhibited extraordinary leadership skills and an exceptional drive for accomplishing
goals. | have been blessed to work with her, especially in receiving her assistance as.a
volunteer organizer for several community events. She is especially helpful when
confronted with critical time sénsitive matters and has a reputation for meeting
deadlines.

As a connector, she keeps her finger on the pulse of making success happen when
given a responsibility or task. Cynthia has a keen sense of analytical thinking and she
uses this skill to organize, plan and achieve great outcomes. When reflecting on an
individual who has the capability of leading without accolades, I think of her as she
does so with great results. She in known and respected throughout the community as a
woman of strength, character and valor. Cynthia is admired by those who know her.

Cynthia has been a trusted friend and confidant for many years. It is with great
pleasure that | enthusiastically write this communiqué on her behalf. [f you require
any additional information, feel free to contact me directly at (313) 268-8990.

  

 

 
Case 2:16-cr-20439-MFL-DRG ECF No. 14-1 filed 11/10/16 PagelD.89 Page 10 of 10

     

FIFTH THIRD BANK

Cynthia Flowers
2051 Applewood Dr,
Troy, M1 48085

Dear Cynthia,

iam writing this letter to thank you for your leadership. You are a great partner in the community. i
have worked with many community leaders but | consider you one of the bank’s key partners. Your
leadership and community engagement create great quicomes in our communities. Your project
management, financial acumen, process optimization, and strategic outlook is the key reason why the
organization has the outstanding outcomes.

The Bank appreciates your community leadership in nelping to solve the challenges in the cormmunity
through the Perfecting Community Development Corporation (PCDC). PCDC provides housing for
families that are homeless, the community center, summer programs for the school age children,
employment assistance and financial education programs. Additionally, your charter school leadership
is widely recognized as driving results in educating our students that are in low weaith communities.

Again i wanted to thank you for your leadership in making a difference in our communities so many
times churches serve just the members of the congregation. But through your leadership and
commitment you have shown by example how churches can impact the entire carmmunity.

  

M/C
Byna Elliott
Senior Vice President
Fifth Third Bank

 

 
